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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 1 6 w n 28
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
v. No. 05-20249-B/An
JUAN DELABRA,
Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Dismiss Counsel from Record; Motion
Requesting a Court Appointed Counsel for Representation filed on August 5, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge's order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

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J. DANIEL BREEN
rr 91) sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

